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tr          TRUDY A. NOWAK                 trustee@tanowak.com
aty         ALLAN 2 NEWDELMAN                     anewdelman@adnlaw.net
aty         CAROLYN J. JOHNSEN                  cjjohnsen@dickinsonwright.com
aty         EDWARD K. BERNATAVICIUS                      edward.k.bernatavicius@usdoj.gov
aty         Eric Levy, I        eric.levy@pcao.pima.gov
aty         JANET MARIE SPEARS                  ecfazb@aldridgepite.com
aty         JOHN C SMITH              john@smithandsmithpllc.com
aty         JONATHAN M. SAFFER                   jsaffer@rllaz.com
aty         KEVIN C. BARRETT                kbarrett@barrettmatura.com
aty         LEONARD J. MCDONALD, JR.                    ecf@tblaw.com
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sp          PHILIP J Nathanson          8326 E. Hartford Dr.        Suite 101       8326 E. Hartford Dr., Suite
            101        Scottsdale        AZ, 85255 UNITED STATES
cr          Allan D. NewDelman, P.C.           80 East Columbus Avenue           Phoenix, AZ 85012
cr          821 7th LLC         c/o Carolyn J. Johnsen        1850 N. Central Ave., Ste. 1400       Phoenix, AZ 85004
cr          807 7th LLC         c/o Carolyn J. Johnsen        1850 N. Central Ave., Ste. 1400       Phoenix, AZ 85004
cr          Snakebridge, LLC          c/o Carolyn J. Johnsen       1850 N. Central Ave., Ste. 1400        Phoenix, AZ 85004
cr          Sheila Diller       c/o Carolyn J. Johnsen       1850 N. Central Ave., Ste. 1400        Phoenix, AZ 85004
cr          JAMES LEE DILLER              c/o Carolyn J. Johnsen        Dickinson Wright PLLC         1850 N. Central Ave., Ste.
            1400        Phoenix, AZ 85004
aty         LESLEY M. LUKACH               PIMA COUNTY ATTORNEY                   32 N. STONE, #2100          TUCSON, AZ 85701
16511737 Allan D. NewDelman, P.C.              80 East Columbus Avenue           Phoenix, AZ 85012
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